                 Case 2:19-cv-01983-JCC Document 60 Filed 09/21/20 Page 1 of 4




                                                     THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   THE PHOENIX INSURANCE COMPANY,                         CASE NO. C19-1983-JCC
     a foreign insurance company,
10
                                                            ORDER
11                             Plaintiff,
            v.
12
     DIAMOND PLASTICS CORPORATION, a
13   Nevada corporation; and H.D. FOWLER
     COMPANY, a corporation,
14

15                             Defendants.

16
            This matter comes before the Court on Plaintiff Phoenix Insurance Company’s motion to
17
     compel production of documents (Dkt. No. 48) and Defendant Diamond Plastics Corporation’s
18
     motion for reconsideration (Dkt. No. 50) of the Court’s order granting Diamond’s motion to stay
19
     and bifurcate (Dkt. No. 47). Having thoroughly considered the parties’ briefing and the relevant
20
     record, the Court hereby DENIES both motions without prejudice.
21
     I.     BACKGROUND
22
            This coverage action arises from an alleged incident that occurred during construction of
23
     a conveyance system in the Kent/Auburn area. (See Dkt. Nos. 1 at 2–4, 20 at 5–6.) In March
24
     2017, the project’s general contractor, Kiewit Infrastructure West Company, contracted with
25
     H.D. Fowler Company for H.D. Fowler to supply pipe for the project. (See Dkt. Nos. 1 at 3, 20 at
26


     ORDER
     C19-1983-JCC
     PAGE - 1
               Case 2:19-cv-01983-JCC Document 60 Filed 09/21/20 Page 2 of 4




 1   5.) H.D. Fowler, in turn, ordered approximately 4000 linear feet of pipe from Diamond. (See

 2   Dkt. Nos. 1 at 3, 20 at 5–6.) Fowler alleges that as one of Kiewit’s subcontractors attempted to

 3   install the pipe, it “suddenly and physically failed.” (Dkt. No. 20 at 6.) This failure allegedly

 4   delayed the project and caused Kiewit to incur additional costs, (see Dkt. No. 1 at 4), that Kiewit

 5   passed on to H.D. Fowler, (see Dkt. No. 20 at 6–7).

 6          On March 27, 2019, H.D. Fowler filed suit against Diamond in King County Superior

 7   Court seeking to recover these costs. (See Dkt. Nos. 1 at 4, 20 at 6–7.) The next day, Diamond

 8   tendered the defense to Phoenix. (See Dkt. No. 20 at 7.) Diamond alleges that in April 2019,
 9   Phoenix acknowledged internally that it had a duty to defend Diamond but did not formally
10   agree to accept the defense and assign counsel until June 2019. (See id. at 8–9.) In the interim,
11   Diamond hired its own counsel and incurred legal fees for which it alleges Phoenix is
12   responsible. (See id. at 9–10.) Diamond further alleges, among other things, that after Phoenix
13   accepted defense of the underlying litigation, Phoenix failed to update Diamond on the progress
14   of the litigation and improperly used attorney-client privileged information between Diamond
15   and Phoenix’s defense team for its own benefit. (See id.)
16          Several months later, Phoenix filed the present declaratory judgment action in which it
17   seeks a declaration that it has no duty to defend or indemnify Diamond. (See generally Dkt. No.
18   1.) Diamond answered the complaint and asserted counterclaims for breach of contract, breach of

19   duty of good faith, and for violation of the Washington Consumer Protection Act, Wash. Rev.

20   Code § 19.86. (See Dkt. No. 20 at 11–13.) In addition, Diamond seeks a declaration that Phoenix

21   has a duty to defend Diamond. (See id. at 11.)

22          About three weeks after answering the complaint, Diamond filed a motion to stay all

23   discovery related to Phoenix’s duty to indemnify. (See Dkt. No. 24.) Although that ten-page

24   motion focused almost exclusively on Phoenix’s duty to indemnify, it included two sentences

25   requesting that the Court “stay discovery and motion practice on [Diamond’s] extracontractual

26   claims in the interests of judicial efficiency.” (See Dkt. No. 24 at 4, 10.)


     ORDER
     C19-1983-JCC
     PAGE - 2
               Case 2:19-cv-01983-JCC Document 60 Filed 09/21/20 Page 3 of 4




 1          While that motion was pending, Phoenix served Diamond with 51 requests for

 2   production. (See Dkt. No. 48-1 at 22–59.) Diamond objected to nearly all of the requests based

 3   on its view that they relate to Diamond’s duty to indemnify or its extracontractual counterclaims

 4   and that discovery regarding those matters should be stayed. (See Dkt. No. 48-1 at 72–110.)

 5   Eventually, the Court granted Diamond’s motion and stayed “all discovery and motions practice

 6   relating to Phoenix’s duty to indemnify Diamond.” (Dkt. No. 47 at 4.) The Court’s order was

 7   silent on Diamond’s counterclaims. (See id.)

 8          Five days after the Court’s order, Phoenix filed the instant motion to compel. (See Dkt.
 9   No. 48.) Phoenix argues that Diamond’s objections have been waived because they were
10   untimely, (see id. at 13–15), and that they are meritless because “none of the requests ask[] for
11   any documents having anything to do with whether Phoenix ha[s] a duty to indemnify
12   Diamond,” (id. at 14). Phoenix also argues that the Court should order Diamond to pay the
13   attorney fees Phoenix incurred in preparing the motion to compel. (See id. at 15–16.)
14          Diamond responded by first filing a motion for reconsideration noting that the Court
15   overlooked Diamond’s request to stay discovery with respect to its extracontractual
16   counterclaims and requesting that the Court clarify whether that discovery is also stayed. (See
17   generally Dkt. No. 50.) Diamond also argues in response to the motion to compel that its
18   objections have not been not waived, all but one of the requests for production relate to

19   Phoenix’s duty to indemnify or Diamond’s counterclaims, and sanctions are not warranted

20   because its actions were substantially justified. (See generally Dkt. No. 51.)

21   II.    DISCUSSION

22          This Court’s local rules provide that before filing a discovery motion, the parties must

23   meet and confer in good faith in an effort to resolve the dispute, or at least narrow the issues,

24   before seeking the Court’s intervention. See LCR 37(a)(1); LCR 26(c)(1). The Court has serious

25   concerns about whether the parties’ June 10 telephone conference, (see Dkt. No. 48-1 at 6), was

26   conducted in good faith in light of the fact that the parties were able to reach agreement about


     ORDER
     C19-1983-JCC
     PAGE - 3
                 Case 2:19-cv-01983-JCC Document 60 Filed 09/21/20 Page 4 of 4




 1   only one of 51 requests for production. In addition, the Court is concerned that the parties appear

 2   to agree that they have resolved Diamond’s breach of contract claim, yet Diamond refuses to

 3   withdraw the claim, and Phoenix continues to seek discovery on it. (See Dkt. No. 48 at 4 (noting

 4   that Phoenix sent Diamond a check for the full amount of the defense costs Diamond incurred

 5   and interest); Dkt. No. 51 at 1–2 (acknowledging that Diamond’s breach of contract claim is

 6   “moot[]”).)

 7            Accordingly, the Court DENIES both motions without prejudice and ORDERS the

 8   parties to meet and confer in good faith in an attempt to resolve these issues, or at least narrow
 9   the issues in dispute, without the Court’s intervention. If, after meeting and conferring in good
10   faith, issues remain that the parties cannot resolve without the Court’s intervention, the parties
11   may renew their motions and the Court will resolve them promptly. 1 Any renewed motion must
12   include a certification that the parties met and conferred in good faith and must “list the date,

13   manner, and participants to the conference.” LCR 37(a)(1); LCR 26(c)(1).

14   III.     CONCLUSION

15            For the foregoing reasons, Plaintiff Phoenix Insurance Company’s motion to compel

16   (Dkt. No. 48) is DENIED without prejudice and Defendant Diamond Plastics Corporation’s

17   motion for reconsideration (Dkt. No. 50) is DENIED without prejudice.

18

19            DATED this 21st day of September 2020.




                                                           A
20

21

22
                                                           John C. Coughenour
23                                                         UNITED STATES DISTRICT JUDGE
24

25

26   1
         The Court will treat any renewed motion as timely.

     ORDER
     C19-1983-JCC
     PAGE - 4
